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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                        CASE NO. 22-23617-CIV-LENARD/LOUIS

 MARCIA ENNIS,

        Plaintiff,
 vs.

 GUARD FORCE INTERNATIONAL, INC.,

      Defendant.
 ________________________________/



        ORDER SETTING FORTH THE COURT'S POLICY ON MOTIONS FOR
         EXTENSION OR STAY OF THE SCHEDULING ORDER DEADLINES

        Motions for extension of time or for stay regarding the deadlines set forth in the

 Court's Scheduling Order are highly disfavored. The parties select and agree to their

 deadlines as set forth in the Joint Scheduling Report. Thereafter, the Court enters its

 Scheduling Order and sets the trial date accordingly. Therefore, in order to preserve

 the trial date and the administration of the court's docket, the court will only grant these

 motions in the rarest of circumstances such as an interlocutory appeal.

        DONE AND ORDERED in Chambers at Miami, Florida this 19th day of

 December, 2022.




                                                   ________________________________
                                                   JOAN A. LENARD
                                                   Senior United States District Judge
